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                    IN THE UNITED STATE DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                   OXFORD DTYISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                                              CML ACTION NO. 3:22-cv-114-NBB-RP
ROBERT CURRY, JR.                                                             DEFENDANT

                                 CONSENT JUDGMENT

       This consent judgment is entered into between the United States of America, acting

through the United States Department of Justice and on behalf of the United States SmaII

Business Administration ("SBA") (collectively the "United States"), and Defendant Robert

Curry, Jr. Based on the certified. financial information provided by Defendant, and in

recognition of his cooperation with the United States' investigation, the parties stipulate

and consent to the entry of judgment in favor of the United States of America against

Defendant Robert Curry, Jr. in the sum of $46,783.01. Post
                                                               judgment interest shall accrue

at the legal rate pursuant to 28 U.S.C. S 1961(a) and shall be computed daily and

compounded annually until paid in fuII, but without costs to either
                                                                      party. Defendant
                                                                                    payable in
Robert Curry, Jr. agrees that the sum owed., $46,783.01 plus interest, is due and

full immediately. Defend.ant also agrees to pay a separate $400'00 filing fee pursuant to
                                                                                              28


u.s.c. s 2aL2@)(2).
                                                                 judgment as long as
       Provid.ed, however, execution shall not issue upon this

Defendant Robert curry, Jr. pays to the Department of Justice,
                                                                   through the united states

                                                                           upon minimum
Attorney, 900 Jefferson Avenue, oxford, Mississippi 38655, an agreed
                                                       judgment is satisfied' The amount of
 monthly payment each and every month until this
                                                                 ress than annualb. This debt
 this payment shall be subject to review and modification not
                                                          so that any federal monies owed to
 shall also be included in the Treasury offset Program
                                                       outstanding debt'
 Defendant Robert curry, Jr. will be credited to his
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       This case is CLOSED.

IT IS SO ORDERED this the 31stday of August,ZoZZ.
                              -
                                                  UNITED STATES DISTRICT JUDGE

PREPARED BY AND AGREED TO:




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Atnrney for Pl,aintiff United States of America

AGREED TO:
